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Thls document entered on the docket sheet ln compliance

with Flule 58 and/or 79(3) FRCP on f Q § )'§ 26 2

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JERRY L. BILLINGSLEY, O’r` "?, gé§§p§§
Plainriff,
v. No. 02-2920-B/V

SHELBY COUNTY, et al.,

Defendants.

 

ORDER DENYING PLAINTIFF’S REQUEST FOR DATE
AND 'I`IME OF EVALUATION OF PLAINTIFF

 

Before the Court is a document filed by the pr_o_ g Plaintiff, Jerry Billingsley, for a
request to compel the Defendants to provide him the date and time of his evaluation by Dr.
William Wolters. According to the motion, Plaintiff claims that he has spoken with defense
counsel Debra Godwin on several occasions about scheduling a date, however, she advises the
Plaintiff that Dr. Wolters is still in the process of gathering medical information concerning
Billingsley from his other physicians and/or psychiatrists/psychologists. Consequently,
apparently no new date for an evaluation has been set.

'I`he Court currently has scheduled with the parties a status conference on June 22, 2005,
at 1:15 p.m. Inasmuch as part of the reason for the delay was the unwillingness of the Plaintiff
to initially provide a release of his medical records, the Court will not compel at this point the
Defendants to schedule a certain date until Dr. Wolters has had a reasonable opportunity to
obtain Plaintiff’ s records. The Court will also discuss the status of this examination with the

parties at the conference on June 22.

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Accordingly, for the reasons stated herein, Plaintiff’s request from Defendants for date
and time of his mental evaluation is DENIED.

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IT rs so oRDERED this 17 day of June, 2005.

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\ J. DANIEL BREEN \
UNI ED sTATEs DIsTRIcT JUDGE

 

 

 

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This notice confirms a copy of the document docketed as number 196 in
case 2:02-CV-02920 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

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Honorable .1. Breen
US DISTRICT COURT

